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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RANDALL L. SPADE,           :
                            :
                  Plaintiff :
     V.                     : Civil No.: 4:15-CV-02513
                            :
THE UNITED STATES OF        :
AMERICA,                    : (JUDGE BRANN)
                  Defendant :

     THE UNTIED STATES’ MOTION TO DISMISS PURSUANT TO
    RULE 12(B)(1) FOR LACK OF SUBJECT MATTER JURISDICTION

      AND NOW, comes the United States of America, 1 by its attorneys, David J.

Freed, United States Attorney for the Middle District of Pennsylvania, and

Timothy S. Judge, Assistant U.S. Attorney, who hereby moves that the Court

dismiss plaintiff’s amended complaint pursuant to Fed. R. Civ. P. 12 (b) (1) of the

Federal Rules of Civil Procedure.2 The prior administrative determination by the

Secretary of Labor that the Federal Employees Compensation Act covers Mr.



1
  Pursuant to 28 U.S.C. § 2679(d)(1), the United States of America should be
substituted for the United States Department of Justice.
2
  On June 18, 2020, the Court held a status conference with counsel for the parties.
During the conference, the undersigned represented that the United States intended
to file a motion for summary judgment asserted a lack of jurisdiction and intended
to file materials beyond the pleadings. However, upon further research and review,
the instant motion is more appropriately filed pursuant to Fed. R. Civ. P. 12(b)(1).
See Gotha v. United States, 115 F.3d 176, 179 (3d Cir. 1997)(a court is not
confined to the plaintiff’s complaint but may consider affidavits, depositions, and
testimony to resolve factual issues bearing on jurisdiction).
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Spade’s Federal Tort Claims Act claim against the United States, such that

plaintiff’s claim against the United States is jurisdictionally barred. See 5 U.S.C. §

8116(c) (providing that “the liability of the United States or an instrumentality

thereof under this subchapter . . . with respect to the injury or death of an employee

is exclusive and instead of all other liability of the United States or of the

instrumentality to the employee . . . in an direct judicial proceeding, in a civil

action, or in admiralty, or by an administrative or judicial proceeding under a

workmen’s compensation statute or under a Federal tort liability statute”). A brief

in support of this motion will be filed in accordance with M.D. Pa. Local Rule 7.5. 3

Dated: July 2, 2020                            Respectfully submitted,

                                               DAVID J. FREED
                                               UNITED STATES ATTORNEY

                                               /s/ Timothy S. Judge
                                               TIMOTHY S. JUDGE
                                               Assistant U.S. Attorney
                                               Atty. I.D. #PA 203821
                                               P.O. Box 309
                                               Scranton, PA 18501
                                               Phone 348-2800
                                               E-Mail: timothy.judge@usdoj.gov


3
  On June 22, 2020, the Court issued a scheduling order which was based on the
United States’ previous representations at the status conference. Pursuant to the
Order, the United States’ brief is due on or before July 16, 2020, Plaintiff’s brief is
due on or before August 6, 2020, and the United States’ reply brief is due on or
before August 20, 2020. The United States does not believe the instant motion
should give the Court cause to change the previous order or the deadlines set forth
therein.
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RANDALL L. SPADE,           :
                            :
                  Plaintiff :
     V.                     : Civil No.: 4:15-CV-02513
                            :
THE UNITED STATES OF        :
AMERICA,                    : (JUDGE BRANN)
                  Defendant :

                   CERTIFICATE OF SERVICE BY MAIL

      The undersigned hereby certifies that she is an employee in the Office of the
United States Attorney for the Middle District of Pennsylvania, and is a person of
such age and discretion as to be competent to serve papers.

      That on July 2, 2020, she served copies of the attached:

    THE UNTIED STATES’ MOTION TO DISMISS PURSUANT TO
   RULE 12(B)(1) FOR LACK OF SUBJECT MATTER JURISDICTION

by CM/ECF notification:


Christian A. Lovecchio, Esquire
Email: contact@callahanlovecchiolaw.com


                                      /s/ Christina Nihen
                                      CHRISTINA NIHEN
                                      Legal Assistant
